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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


Dan Pederson et al.,

                       Plaintiffs,
                                                   Case No. 0:19-cv-02735-JRT-HB
v.

Donald J. Trump for President, Inc.,

                       Defendant.


             DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES TO
                   PLAINTIFFS’ CLASS ACTION COMPLAINT

        Defendant Donald J. Trump for President, Inc. (“the Campaign”), by and through

 its undersigned counsel, hereby answers the Class Action Complaint (“Complaint”) filed

 by Plaintiffs Dan Pederson, Connor Olson, and Shell Wheeler (“Plaintiffs”) and states its

 affirmative defenses. Any allegation not explicitly admitted is denied. Headings contained

 in the Complaint are not substantive allegations to which an answer is required, and to the

 extent the headings are repeated in this Answer, it is solely for the Court’s ease of reference.

 To the extent those headings are substantive allegations to which an answer is required, the

 Campaign denies the allegations.

                                AS TO THE INTRODUCTION

        1.      The Campaign admits only that Plaintiffs filed the Complaint.               The

 Campaign denies that it negligently or willfully violated the Telephone Consumer

 Protection Act (“TCPA”) or invaded Plaintiffs’ privacy. The Campaign lacks knowledge
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or information sufficient to form a belief as to whether Plaintiffs’ allegations are based

upon personal knowledge or investigation conducted by their attorneys.

                        AS TO THE NATURE OF THE ACTION

       2.      The Campaign admits that President Donald J. Trump is a candidate running

for the office of the President of the United States of America, that the Campaign is his

official candidate committee, and that the Campaign is registered with the Federal Election

Commission.

       3.      Paragraph 3 contains legal conclusions to which no response is required. To

the extent a response is required, the Campaign denies that it sends messages with

automatic telephone dialing equipment and without wireless users’ prior express consent,

in violation of the TCPA.

       4.      Paragraph 4 purports to describe the TCPA and contains no factual

allegations to which a response is required. To the extent a response is required, the

Campaign respectfully refers the Court to the applicable statute for its full language and

context.

       5.      Paragraph 5 contains legal conclusions to which no response is required. To

the extent a response is required, the Campaign denies that it caused Plaintiffs to suffer

actual harm—including aggravation, nuisance, and invasion of privacy—and that it

violated Plaintiffs’ statutory rights.

       6.      Paragraph 6 contains legal conclusions to which no response is required. To

the extent a response is required, the Campaign denies that Plaintiffs suffered a concrete

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injury in fact that is likely to be redressed by a favorable decision in this action. The

Campaign also denies that the October 16 text message Plaintiff Pederson allegedly

received is fairly traceable to the Campaign.          The Campaign lacks knowledge or

information sufficient to form a belief as to whether the other text messages Plaintiffs claim

to have received are fairly traceable to the Campaign.

       7.     The Campaign lacks knowledge or information sufficient to form a belief as

to whether unsolicited text messages cause any of the generic injuries listed in paragraph

7. The Campaign denies any implication that its conduct caused Plaintiffs to suffer any of

these injuries.

       8.     The Campaign admits only that Plaintiffs have sought an injunction, statutory

damages under the TCPA, costs, and reasonable attorneys’ fees. The Campaign denies that

Plaintiffs are entitled to any such relief under the law and facts of this case.

                         AS TO JURISDICTION AND VENUE

       9.     Paragraph 9 contains legal conclusions to which no response is required. To

the extent a response is required, the Campaign lacks knowledge or information sufficient

to form a belief as to whether jurisdiction would be proper under 28 U.S.C. § 1332(d)(2) if

all other elements of subject matter jurisdiction were satisfied, and it therefore denies the

allegations on that basis. The Campaign denies that jurisdiction is proper for the additional

reason that Plaintiffs have failed to establish that they suffered a concrete injury in fact,

and Plaintiff Pederson has failed to establish that the October 16 text message is fairly



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traceable to the Campaign. Because none of the Plaintiffs have standing to pursue their

claims, this Court lacks subject matter jurisdiction over this case.

        10.     The Campaign admits that jurisdiction would be proper under 28 U.S.C. §

1331 if all other elements of subject matter jurisdiction were satisfied. The Campaign

denies, however, that jurisdiction is proper because Plaintiffs have failed to establish that

they suffered a concrete injury in fact, and Plaintiff Pederson has failed to establish that the

October 16 text message is fairly traceable to the Campaign. Because none of the Plaintiffs

have standing to pursue their claims, this Court lacks subject matter jurisdiction over this

case.

        11.     The Campaign admits that venue is proper in this Court only as to Plaintiff

Wheeler’s and Plaintiff Olson’s claims because the Campaign, at all times relevant to this

case, was doing business in the State of Minnesota. The Campaign denies that venue is

proper in this Court as to Plaintiff Pederson’s claim because Plaintiff Pederson entered into

a mandatory arbitration agreement requiring arbitration of his claim in Washington, D.C.

The Campaign lacks knowledge or information sufficient to form a belief as to whether a

substantial part of the alleged events giving rise to Plaintiffs’ claims occurred in this

jurisdiction.

                                     AS TO PARTIES

        12.     The Campaign lacks knowledge or information sufficient to form a belief as

to the truth or falsity of the allegations contained in paragraph 12.



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       13.    The Campaign lacks knowledge or information sufficient to form a belief as

to the truth or falsity of the allegations contained in paragraph 13.

       14.    The Campaign lacks knowledge or information sufficient to form a belief as

to the truth or falsity of the allegations contained in paragraph 14.

       15.    The Campaign admits that it maintains its corporate office at 725 Fifth

Avenue, New York, NY 10022 and that it is a “person” as defined by 47 U.S.C. § 153(39).

       16.    The Campaign admits that, at all times relevant to this case, it conducted

business in the state of Minnesota and within this judicial district.

 AS TO THE TELEPHONE CONSUMER PROTECTION ACT OF 1991 (TCPA),
                     47 U.S.C. §§ 227 ET SEQ.

       17.    Paragraph 17 purports to describe the TCPA and contains no factual

allegations to which a response is required. To the extent a response is required, the

Campaign respectfully refers the Court to the text of the statute for its full language and

context.

       18.    Paragraph 18 purports to describe the TCPA and contains no factual

allegations to which a response is required. To the extent a response is required, the

Campaign states that the text of the TCPA speaks for itself.

       19.    Paragraph 19 purports to describe the               Federal Communications

Commission’s (“FCC”) Rules and Regulations Implementing the Telephone Consumer

Protection Act of 1991, CG Docket No. 02-278, Report and Order, 18 FCC Rcd 14014




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(2003), and contains no factual allegations to which a response is required. To the extent

a response is required, the Campaign states that the Report and Order speaks for itself.

       20.     Paragraph 20 purports to describe the TCPA and the FCC’s January 2008

Declaratory Ruling and contains no factual allegations to which a response is required. To

the extent a response is required, the Campaign states that the text of the statute and the

Report and Order speak for themselves. The Campaign denies Plaintiffs’ legal conclusion

that the burden is on the Campaign to demonstrate that Plaintiffs provided express consent

within the meaning of the statute.

       21.     Paragraph 21 purports to describe the Ninth Circuit’s opinion in Satterfield

v. Simon & Schuster, Inc., 569 F.3d 946, 955 (9th Cir. 2009), and contains no factual

allegations to which a response is required. To the extent a response is required, the

Campaign respectfully refers the Court to the Ninth Circuit’s opinion for its full text and

context.

       22.     Paragraph 22 purports to describe the TCPA and the FCC’s rules and

contains no factual allegations to which a response is required. To the extent a response is

required, the Campaign states that the text of the TCPA and the FCC’s rules speak for

themselves.

       23.     Paragraph 23 purports to describe and quote FCC enforcement advisory

number 2016-03 and contains no factual allegations to which a response is required. To

the extent a response is required, the Campaign states that the FCC’s enforcement advisory

speaks for itself.

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       24.     Paragraph 24 purports to quote the Ninth Circuit’s opinion in Marks v.

Crunch San Diego, LLC, No. 14-56834, 2018 U.S. App. LEXIS 26883, at *1 (9th Cir.

2018), and contains no factual allegations to which a response is required. To the extent a

response is required, the Campaign respectfully refers the Court to the Marks opinion for

its full text and context.

                             AS TO FACTUAL ALLEGATIONS

       25.     The Campaign admits only that it devised and implemented a program of

using text messages to transmit political communications. The Campaign denies that it

uses or has used an automatic telephone dialing system as part of this program.

       26.     The Campaign lacks knowledge or information sufficient to form a belief as

to whether Plaintiff Wheeler received the text message alleged in paragraph 26.

       27.     The Campaign lacks knowledge or information sufficient to form a belief as

to whether Plaintiff Wheeler clicked the hyperlink alleged in paragraph 27 and whether

that hyperlink directed him to DonaldJTrump.com.

       28.     The Campaign lacks knowledge or information sufficient to form a belief as

to whether Plaintiff Olson received the text message alleged in paragraph 28.

       29.     The Campaign lacks knowledge or information sufficient to form a belief as

to whether Plaintiff Olson clicked the hyperlink alleged in paragraph 29 and whether that

hyperlink directed him to DonaldJTrump.com.

       30.     The Campaign lacks knowledge or information sufficient to form a belief as

to whether Plaintiff Pederson received the text message alleged in paragraph 30.

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       31.      The Campaign denies that it did not obtain express consent from Plaintiff

Pederson prior to sending him text messages.          The Campaign lacks knowledge or

information sufficient to form a belief as to whether Plaintiffs Wheeler and Olson provided

their prior express consent to receive messages from the Campaign.

       32.      The Campaign lacks knowledge or information sufficient to form a belief as

to the truth or falsity of the allegations contained in paragraph 32.

       33.      Paragraph 33 contains legal conclusions to which no response is required.

To the extent a response is required, the Campaign denies that it sent Plaintiffs unsolicited

text messages using an automatic telephone dialing system or an artificial prerecorded

voice system.

       34.      Paragraph 34 contains legal conclusions to which no response is required.

To the extent a response is required, the Campaign lacks knowledge or information

sufficient to form a belief as to whether the three ten-digit phone numbers from which the

text messages at issue allegedly originated all resulted in an error message or disconnected

dial tones when called by Plaintiffs. The Campaign denies that, if this allegation were true,

it would prove that the text messages were sent using an autodialer.

       35.      Paragraph 35 contains legal conclusions to which no response is required.

To the extent a response is required, the Campaign denies the allegations. The Campaign

specifically denies that the text messages were generic and that the alleged generic nature

of the text messages constitutes evidence that an autodialer was used to send them.



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       36.    Paragraph 36 contains legal conclusions to which no response is required.

To the extent a response is required, the Campaign denies that the text messages use a

prerecorded voice as prohibited by 47 U.S.C. § 227(b)(1)(A).

       37.    Paragraph 37 contains legal conclusions to which no response is required.

To the extent a response is required, the Campaign denies the allegations. The Campaign

specifically denies that the text messages were identical and that the alleged identical nature

of the text messages establishes that they were not manually dialed or written.

       38.    The Campaign admits only that it sends text messages using peer-to-peer

technology. The Campaign denies that the text messages constitute “spam” and that it uses

or has used an autodialer to send text messages.

       39.    The Campaign lacks knowledge or information sufficient to form a belief as

to whether Plaintiff Pederson received the text message alleged in paragraph 39.

       40.    The Campaign denies that Plaintiff Pederson has never voluntarily provided

his number ending in 1848 to the Campaign.

       41.    The Campaign admits that its privacy policy for the SMS campaign is found

on the website http://www.sms-terms.com/88022 and that this texting program allows

users to receive SMS/MMS mobile messages by users affirmatively opting into the

program. The Campaign denies that Plaintiff Pederson did not affirmatively opt into this

program.

       42.    The Campaign denies that it sent any text messages using an automatic

telephone dialing system or an artificial or prerecorded voice.

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       43.    Paragraph 43 contains legal conclusions to which no response is required.

To the extent a response is required, the Campaign denies the allegations. The Campaign

specifically denies that the text message Plaintiff Pederson received was generic and that

the alleged generic nature of the text message constitutes evidence that an autodialer was

used to send it.

       44.    The Campaign lacks knowledge or information sufficient to form a belief as

to whether Plaintiffs incurred a charge for incoming calls to their cellular telephone

numbers.

       45.    The Campaign admits that the messages at issue were not for emergency

purposes as defined by 47 U.S.C. § 227(b)(1)(A)(i).

       46.    Paragraph 46 contains legal conclusions to which no response is required.

To the extent a response is required, the Campaign denies the allegations.

                       AS TO CLASS ACTION ALLEGATIONS

       47.    The Campaign admits only that Plaintiffs purport to bring this action

pursuant to Federal Rules of Civil Procedure 23(b)(2) and 23(b)(3) and seek to represent

the putative class defined in paragraph 47 of the Complaint. The Campaign otherwise

denies the allegations in paragraph 47 of the Complaint and specifically denies that class

certification is appropriate.

       48.    The Campaign admits only that Plaintiffs so allege. The Campaign otherwise

denies the allegations in paragraph 48 of the Complaint.



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       49.    Paragraph 49 contains legal conclusions to which no response is required.

To the extent a response is required, the Campaign denies the allegations contained in

Paragraph 49 and specifically denies that this matter should be certified as a class action.

       50.    The Campaign denies all of the allegations contained in Paragraph 50. The

Campaign specifically denies that it illegally contacted Plaintiffs and members of the

putative Classes, that it caused Plaintiffs and members of the putative Classes any injury,

and that it invaded their privacy.

       51.    The Campaign admits only that Plaintiffs purport to seek damages and

injunctive relief on behalf of the Classes and that they expressly intend not to request any

recovery for personal injury and claims related thereto.        The Campaign denies that

Plaintiffs have the right to expand the definitions of the Classes.

       52.    Paragraph 52 contains legal conclusions to which no response is required.

To the extent a response is required, the Campaign denies the allegations.

       53.    Paragraph 53 contains legal conclusions to which no response is required.

To the extent a response is required, the Campaign denies the allegations.

       54.    Paragraph 54 contains legal conclusions to which no response is required.

To the extent a response is required, the Campaign denies the allegations.

       55.    Paragraph 55 contains legal conclusions to which no response is required.

To the extent a response is required, the Campaign denies the allegations.

       56.    Paragraph 56 contains legal conclusions to which no response is required.

To the extent a response is required, the Campaign denies the allegations.

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       57.    Paragraph 57 contains legal conclusions to which no response is required.

To the extent a response is required, the Campaign denies the allegations.

       58.    Paragraph 58 contains legal conclusions to which no response is required.

To the extent a response is required, the Campaign denies the allegations.

   AS TO FIRST CAUSE OF ACTION: NEGLIGENT VIOLATIONS OF THE
   TELEPHONE CONSUMER PROTECTION ACT 47 U.S.C. §§ 227 ET SEQ.

       59.    The Campaign admits only that Plaintiffs so allege.

       60.    Paragraph 60 contains legal conclusions to which no response is required.

To the extent a response is required, the Campaign denies the allegations. The Campaign

specifically denies that it sent text messages using a random or sequential number generator

and without human intervention.

       61.    Paragraph 61 contains legal conclusions to which no response is required.

To the extent a response is required, the Campaign denies the allegations.

       62.    Paragraph 62 contains legal conclusions to which no response is required.

To the extent a response is required, the Campaign denies the allegations. The Campaign

specifically denies that it sent Plaintiff Pederson text messages without his prior express

consent.

       63.    Paragraph 63 contains legal conclusions to which no response is required.

To the extent a response is required, the Campaign denies the allegations. The Campaign

specifically denies that it violated the TCPA.




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       64.     Paragraph 64 contains legal conclusions to which no response is required.

To the extent a response is required, the Campaign denies the allegations. The Campaign

specifically denies that Plaintiffs and any alleged members of the putative Class are entitled

to relief in this matter.

       65.     Paragraph 65 contains legal conclusions to which no response is required.

To the extent a response is required, the Campaign denies the allegations.

     AS TO SECOND CAUSE OF ACTION: KNOWING AND/OR WILLFUL
     VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
                       47 U.S.C. §§ 227 ET SEQ.

       66.     The Campaign admits only that Plaintiffs so allege.

       67.     Paragraph 67 contains legal conclusions to which no response is required.

To the extent a response is required, the Campaign denies the allegations. The Campaign

specifically denies that it sent text messages using a random or sequential number generator

and without human intervention.

       68.     Paragraph 68 contains legal conclusions to which no response is required.

To the extent a response is required, the Campaign denies the allegations.

       69.     Paragraph 69 contains legal conclusions to which no response is required.

To the extent a response is required, the Campaign denies the allegations. The Campaign

specifically denies that it sent Plaintiff Pederson text messages without his prior express

consent.




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       70.     Paragraph 70 contains legal conclusions to which no response is required.

To the extent a response is required, the Campaign denies the allegations. The Campaign

specifically denies that it violated the TCPA.

       71.     Paragraph 71 contains legal conclusions to which no response is required.

To the extent a response is required, the Campaign denies the allegations. The Campaign

specifically denies that Plaintiffs and any alleged members of the putative Class are entitled

to relief in this matter.

       72.     Paragraph 72 contains legal conclusions to which no response is required.

To the extent a response is required, the Campaign denies the allegations.

                             AS TO PRAYER FOR RELIEF

       73.     Paragraph 73 contains legal conclusions to which no response is required.

To the extent a response is required, the Campaign denies the allegations. The Campaign

specifically denies that it negligently violated the TCPA.

       74.     The Campaign admits only that Plaintiffs seek injunctive relief.          The

Campaign denies that Plaintiffs are entitled to such relief.

       75.     The Campaign admits only that Plaintiffs seek any other relief that the Court

may deem just and proper. The Campaign denies that Plaintiffs are entitled to such relief.

       76.     Paragraph 76 contains legal conclusions to which no response is required.

To the extent a response is required, the Campaign denies the allegations. The Campaign

specifically denies that it willfully and/or knowingly violated the TCPA.



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       77.    The Campaign admits only that Plaintiffs seek injunctive relief.          The

Campaign denies that Plaintiffs are entitled to such relief.

       78.    The Campaign admits only that Plaintiffs seek any other relief that the Court

may deem just and proper. The Campaign denies that Plaintiffs are entitled to such relief.

                              AFFIRMATIVE DEFENSES

       Without admitting any of the facts alleged in the Complaint, the Campaign hereby

asserts and alleges the following separate and additional defenses, without assuming the

burden of proving any fact, issue, or element of a cause of action where such burden

properly belongs to Plaintiffs, and without prejudice to the Campaign’s right to argue that

Plaintiffs bear the burden of proof as to any one or more of said defenses. Furthermore, all

such defenses are pleaded in the alternative and do not constitute an admission of liability

or an admission that Plaintiffs are entitled to any relief whatsoever. The Campaign has

insufficient knowledge or information as to whether it may have additional, as yet

unasserted, defenses. The Campaign therefore reserves the right to assert additional

defenses in the event discovery or further proceedings indicate such additional defenses

would be appropriate.

                                    FIRST DEFENSE

       The Complaint fails, in whole or in part, to state a claim upon which relief can be

granted or a claim for which the relief sought may be awarded.




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                                   SECOND DEFENSE

       Plaintiffs and/or alleged members of the putative class lack standing to pursue their

claims because they have failed to establish a cognizable injury in fact. Plaintiff Pederson

lacks standing to pursue his claim based on the October 16 text message for the separate

and independent reason that he has failed to show that the message is fairly traceable to the

Campaign.

                                    THIRD DEFENSE

       Plaintiffs’ claims and/or the claims of the putative class fail because Plaintiffs and/or

alleged members of the putative class provided their prior express consent to receive the

text messages at issue.

                                   FOURTH DEFENSE

       Plaintiffs and/or alleged members of the putative class may not prosecute their

claims in this Court because those claims are subject to mandatory arbitration.

                                     FIFTH DEFENSE

       Plaintiffs’ claims and/or the claims of the putative class must fail because the statute

pursuant to which they have brought their claims, the TCPA, is unconstitutional.

                                     SIXTH DEFENSE

       The purported damages allegedly suffered by Plaintiffs and/or alleged members of

the putative class are the result of the acts or omissions of third persons over whom the

Campaign had neither control nor responsibility, or of Plaintiffs or alleged members of the




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putative class themselves. To the extent the Campaign has any liability, that liability must

be satisfied by the other parties or third parties at fault.

                                    SEVENTH DEFENSE

       Plaintiffs and/or alleged members of the putative class cannot claim a TCPA

violation because they did not receive the text messages that were allegedly sent.

                                     EIGHTH DEFENSE

       Plaintiffs’ claims and/or the claims of the putative class fail because Plaintiffs or

alleged members of the putative class failed to take reasonable steps to mitigate their

alleged damages, if any, and their recovery must be barred or diminished accordingly.

                                      NINTH DEFENSE

       Plaintiffs’ claims and/or the claims of the putative class fail because Plaintiffs fail

to fairly and adequately protect the interests of the class.

                                     TENTH DEFENSE

       Plaintiffs’ claims and/or the claims of the putative class are barred, in whole or in

part, by the applicable statute of limitation and/or by statutory filing deadlines which they

failed to meet.

                                   ELEVENTH DEFENSE

       Plaintiffs’ claims and/or the claims of the putative class are barred, in whole or in

part, by equitable defenses, including the doctrines of equitable estoppel, laches, waiver,

and/or unclean hands.




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June 22, 2020                      Respectfully submitted,

                                   /s/ Benjamin L. Ellison
                                   Benjamin L. Ellison (#392777)
                                   JONES DAY
                                   90 South Seventh Street, Suite 4950
                                   Minneapolis, MN 55402
                                   Phone: (612) 217-8800
                                   Fax: (844) 345-3178
                                   bellison@jonesday.com

                                   Brett A. Shumate*
                                   Kaytlin L. Roholt*
                                   JONES DAY
                                   51 Louisiana Avenue, N.W.
                                   Washington, D.C. 20001
                                   Phone: (202) 879-3939
                                   Fax: (202) 626-1700
                                   bshumate@jonesday.com
                                   kroholt@jonesday.com

                                   Counsel for Defendant Donald J. Trump for
                                   President, Inc.

                                   *admitted pro hac vice




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